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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

v.                                                        Case No.: 1:22-cr-00011-RJL-5
JAMES BRETT.
_______________________________/


                                    NOTICE OF APPEARANCE
                                         OF COUNSEL


TO:    ANGELA CAESAR, CLERK

       You are hereby notified that I, Maria T. Rodriguez, appear for the Defendant in the above

entitled action, and am admitted pro hac vice.



                                                          /S/ Maria T. Rodriguez
                                                          _____________________________
                                                          Maria T. Rodriguez



                                   CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a true and correct copy of the foregoing Notice of Appearance of
Counsel has been furnished via Electronic Filing to AUSA, Office of the U.S. Attorney, District of
Columbia, on this 3rd day of April, 2023.


                                                   /S/ Maria T. Rodriguez
                                                   ______________________________
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